                     IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                                )
                                                         )
                                 Plaintiff,              )
                v.                                       ) Criminal Action
                                                         ) No. 04-03046-01/17-CR-S-ODS
DEBORAH PARKER,                                          )
                                                         )
                       Defendant.                    )




       REPORT AND RECOMMENDATION OF UNITED STATES MAGISTRATE

        Pursuant to 28 U.S.C. § 636(b), the above-styled criminal action was referred to the undersigned

for preliminary review. This matter comes before the Court on Defendant’s Motion to Declare Charging

Statute Unconstitutionally Vague. She asserts that 21 U.S.C. § 841(c)(2) should be declared void for

vagueness, and seeks dismissal of Counts 1 and 30 of the superseding indictment in this case. She also

seeks dismissal under the alternative theory that the government has failed to allege sufficient facts to

establish an indictable offense under § 841(c)(2).

        Turning first to defendant’s vagueness challenge to § 841(c)(2), it is her position that the statute is

unconstitutionally vague because the “reasonable cause to believe” language fails to give her fair warning

of the illegal criminal conduct, and because it fails to establish standards to govern law enforcement in

enforcing the law.

        Section 841(c)(2) states in pertinent part that “[a]ny person who knowingly and intentionally–



                                                      1


       Case 6:04-cr-03046-SRB                 Document 230        Filed 04/04/05        Page 1 of 4
(2) possesses or distributes a listed chemical, knowing or having reasonable cause to believe, that the listed

chemical will be used to manufacture a controlled substance except as authorized by this subchapter . . .

shall be fined in accordance with Title 18 . . . .”

        In United States v. Sdoulam, 398 F.3d 981 (8th Cir. 2005), the Eighth Circuit addressed a

challenge to § 841(c)(2) on the theory that it charged the defendant with conspiring to commit a negligent

act. The Court reviewed the sufficiency of the indictment de novo, and addressed defendant’s contention

that the language “reasonable cause to believe” creates a negligence standard. Defendant asserted that this

is contrary to the specific intent requirement, which is necessary to support a conspiracy conviction. In

rejecting this argument, the Court held that “a charge of conspiracy to violate Section 841(c)(2) satisfies

the specific intent requirement and does not give rise to a ‘legal impossibility.’” Id. at 987-88. In doing so,

the Court relied on United States v. Bewig, 354 F.3d 731, 737 (8th Cir. 2003), in which it had held that

§ 841(c)(2) does not criminalize a negligent act and is not unconstitutionally vague. The Eighth Circuit

emphasized, in the Sdoulam decision, that the actual knowledge requirement of conspiracy was satisfied

because the object of the conspiracy was the knowing and intentional possession of a listed chemical,

knowing and having reasonable cause to believe that it would be used to manufacture a controlled

substance.

        In Bewig, the Court characterized defendant’s argument that § 841(c)(2) is unconstitutionally

vague as a last-ditch effort to overturn his conviction. In rejecting defendant’s contention that the section

does not provide objective criteria for individuals to know what is illegal, the Court recognized that the

general “void-for-vagueness doctrine requires that a penal statute define the criminal offense with sufficient

definiteness that ordinary people can understand what conduct is prohibited . . . .” 354 F.3d at 737,

                                                      2


        Case 6:04-cr-03046-SRB              Document 230          Filed 04/04/05        Page 2 of 4
quoting Kolender v. Lawson, 461 U.S. 352, 357 (1983). It found that § 841 (c)(2) satisfies this standard.

The Court held that § 841 (c)(2) “does not punish the inadvertent sale of a listed chemical to an illegal drug

manufacturer, but instead punishes only those sales where the seller understands, or should reasonably

understand, that the chemical will be used illegally.” Bewig, 354 F.3d at 737. It elaborated that the section

does not require that a defendant be a mind reader, but rather, “it instills punishment only when a defendant

knows or should know beforehand the illegal end his sale will produce.” Id.1 In terms of whether the

government must prove that methamphetamine was actually made with the sold pseudoephedrine, the

Bewig opinion stated that, “‘[i]t is sufficient that the defendant be aware that customers in general are likely

to use the merchandise with the drugs.’” 354 F.3d at 737-38, quoting Posters ‘N’ Things, Ltd. v. United

States, 511 U.S. 513, 524 (1994). There is nothing in the statute nor applicable case law to suggest the

government must prove actual manufacturing when the offense charged is providing a product with

knowledge or reasonable cause to believe that the product would likely be used for such manufacturing.

         The Court has fully reviewed defendant’s arguments, the government’s response, and applicable

case law. It is the Court’s opinion that Bewig controls these cases, and that the Eighth Circuit has

unequivocally found that § 841(c)(2) is not unconstitutionally vague. The decision very recently handed

down by the Eighth Circuit in Sdoulam further solidifies the state of the law. Defendant has failed to

establish that the statute is unconstitutionally vague on its face or as applied to her.

         Given that the Eighth Circuit has rejected, along with several other circuits, the void for vagueness

         1In another recent Eighth Circuit opinion, the issue of what constitutes the requisite knowledge was

addressed. The Court found that this knowledge can be inferred from surrounding circumstances, such as when
pseudoephedrine is sold in quantities exceeding what a reasonable person would consider legitimate consumer
purchases, when it is sold at a premium price, which has been found to be consistent with making knowingly illicit
sales of a controlled substance, or when pseudoephedrine is purchased from more than one supplier to allay
suspicion. United States v. Khehra, 396 F.3d 1027, 1029-30 (8th Cir. 2005).

                                                               3


         Case 6:04-cr-03046-SRB                    Document 230              Filed 04/04/05            Page 3 of 4
challenge to § 841(c)(2), and based on the fact that the Sdoulam decision holds that the section satisfies

the specific intent requirement, the Court finds that defendant’s motion is without merit and should be

denied.

          The Court finds, therefore, that it must be recommended that defendant’s motion to dismiss on the

grounds that § 841(c)(2) is unconstitutionally vague be denied.

          Turning to defendant’s contention that the indictment fails to state an indictable offense, it is her

contention that the indictment does not allege the specific conduct she was deemed to have committed in

order to have reasonable cause to believe the pseudoephedrine was being diverted. It is the government’s

position that the indictment tracks the statutory language of § 841(c)(2), and clearly sets out the conduct

that is criminalized. The Court agrees, and finds defendant’s argument to be without merit. Accordingly,

the motion to dismiss on the alternative grounds should be denied.           For the foregoing reasons, it is,

pursuant to the governing law and in accordance with Local Rule 22 of the United States District Court for

the Western District of Missouri,

          RECOMMENDED that defendant’s motionto declare the charging statute to be unconstitutionally

vague and to dismiss Counts 1, 18, 20 and 21 of the superseding indictment, or to dismiss the counts for

failure to state an indictable offense, be denied.




                                                                              /s/ James C. England
                                                                             JAMES C. ENGLAND
                                                                             United States Magistrate


Date: 04/04/05



                                                       4


          Case 6:04-cr-03046-SRB            Document 230          Filed 04/04/05        Page 4 of 4
